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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at London)

 UNITED STATES OF AMERICA,                       )
                                                 )
        Plaintiff,                               ) Criminal Action No. 6:17-CR-070-CHB-3, 6
 v.                                              )
                                                 )
 EVERETT MILLER, JR. AND FRANK                   )           ORDER ADOPTING
 K. MEEKS,                                       ) RECOMMENDED DISPOSITION ON
                                                 )         MOTION TO DISMISS
                                                 )
        Defendants.                              )


                                      *** *** *** ***
       This matter is before the Court on the Recommended Disposition filed by United States

Magistrate Judge Hanly A. Ingram on the First Motion to Dismiss for Violation of Double

Jeopardy Clause of the Fifth Amendment [R. 274]. Defendant Everett Miller, Jr. filed the

motion to dismiss the charge of conspiracy to distribute 500 grams or more of a mixture or

substance containing a detectable amount of methamphetamine in violation of 21 U.S.C. § 846,

and Defendant Frank K. Meeks joined the motion. [R. 258; R. 267] The parties then briefed the

motion pursuant to the Court’s orders.

       Magistrate Judge Ingram concluded, in accordance with the current state of the law as

well as the Defendants’ own admissions, that the motion should be denied. [R. 274 at p. 2] The

Magistrate Judge explained that “[b]oth Defendants recognize that binding precedent requires the

denial of their motion to dismiss, meaning their motion is essentially a preservation attempt in

the event the law changes.” Id. Based on that acknowledgement as well as the fact that the

Defendants failed to respond to an argument that the Court specifically ordered them to address

(namely, an argument based on U.S. v. Felix, 503 U.S. 378 (1992)), the Magistrate Judge
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recommended denying the motion to dismiss. Id. at pp. 1, 3.

       Generally, this Court must make a de novo determination of those portions of the Report

and Recommendation to which objections are made. 28 U.S.C. § 636(b)(1). When no

objections are made, this Court is not required to “review . . . a magistrate’s factual or legal

conclusions, under a de novo or any other standard . . . .” See Thomas v. Arn, 474 U.S. 140, 151

(1985). Parties who fail to object to a magistrate judge’s recommended disposition are also

barred from appealing a district court’s order adopting that recommended disposition. United

States v. White, 874 F.3d 490, 495 (6th Cir. 2017); United States v. Walters, 638 F.2d 947, 949-

50 (6th Cir. 1981).

       Judge Ingram’s Recommended Disposition advised the parties that any objections must

be filed within five (5) days. [R. 274 at p. 4] Both Defendant Miller and Defendant Meeks filed

essentially identical objections to the Recommended Disposition. [R. 275; R. 279] These

objections are 1) an objection that the Defendants “would respectfully take issue with the

criticism of [defense] counsel not to reply or argue the decision in” Felix, because the

Defendants have taken the position that Felix may be overruled by a case currently pending

before the Supreme Court, and 2) an objection to the suggestion that the issue regarding double

jeopardy has not been properly preserved. [R. 275 at pp 1-2; R. 279 at pp. 1-2]

       While the Court doubts that these statements count as true objections, even under a de

novo standard the Court finds them to be without merit. As to the first “objection,” the fact that

the Defendants hope that the Supreme Court will overturn Felix is absolutely no reason to fail to

address that case pursuant to a specific Order of the Court. As to the second objection, the

Recommended Disposition contains no affirmative suggestion that the issue regarding double



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jeopardy has not been properly preserved. Rather, it simply recognizes that the issue of

preservation will have to be assessed if and when the law changes. [R. 274 at p. 2] Finally, both

objections state that “the Defendant understands and agrees with the decision to deny the

motion” and “[i]n the end, the Defendant accepts the recommended disposition pursuant to the

current state of the law.” [R. 275 at pp 1-2; R. 279 at pp. 1-2] The Court is similarly satisfied

with the Recommended Disposition as a whole.

       Accordingly, and the Court being otherwise sufficiently advised,

       IT IS HEREBY ORDERED as follows:

       1.       The Magistrate Judge’s Recommended Disposition [R. 274] is ADOPTED as

the opinion of this Court.

       2.       The Defendants’ Objections to the Magistrate Judge’s Recommended

Disposition [R. 275; R. 279] are OVERRULED.

       3.       The Defendants’ Joint Motion to Dismiss for a Violation of the Double

Jeopardy Clause of the Fifth Amendment [R. 258] is DENIED.

       This the 1st day of May, 2019.




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